          20-11484         Doc 1         Filed 06/25/20             Entered 06/25/20 19:06:52                    Main Document                Pg
                                                                       1 of 16
 Fill in this information to identify the case:

 United States Bankruptcy Court for the:
     Southern
 ____________________             New York
                      District of _________________
                                       (State)
                                                           11
 Case number (If known): _________________________ Chapter _____                                                                        q Check if this is an
                                                                                                                                            amended filing




Official Form 201
V o l u n t a r y Pe t i t i o n f o r N o n -I n d i v i d u a l s Fi l i n g f o r B a n k r u p t c y                                             12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.




1.   Debtor’s name                          Premiere Jewellery, Inc.
                                           ______________________________________________________________________________________________________




2.   All other names debtor used
     in the last 8 years
     Include any assumed names,
     trade names, and doing business
     as names




3.   Debtor’s federal Employer             0 ___
                                           ___ 6 – ___
                                                   1 ___
                                                       4 ___
                                                         7 ___
                                                             0 ___
                                                               2 5     0
                                                                   ___ ___
     Identification Number (EIN)



4.   Debtor’s address                      Principal place of business                                  Mailing address, if different from principal place
                                                                                                        of business
                                            389           Fifth Avenue Suites 500-503
                                           ______________________________________________               _______________________________________________
                                           Number     Street                                            Number     Street

                                           ______________________________________________               _______________________________________________
                                                                                                        P.O. Box
                                            New York                 NY       10016
                                           ______________________________________________               _______________________________________________
                                           City                        State    ZIP Code                City                      State      ZIP Code

                                                                                                        Location of principal assets, if different from
                                                                                                        principal place of business
                                            Manhattan
                                           ______________________________________________
                                           County                                                       _______________________________________________
                                                                                                        Number     Street

                                                                                                        _______________________________________________

                                                                                                        _______________________________________________
                                                                                                        City                      State      ZIP Code




5.   Debtor’s website (URL)                ____________________________________________________________________________________________________


6.   Type of debtor                        q Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                           q Partnership (excluding LLP)
                                           q Other. Specify: __________________________________________________________________


Official Form 201                                 Voluntary Petition for Non-Individuals Filing for Bankruptcy                             page 1
            20-11484           Doc 1    Filed 06/25/20              Entered 06/25/20 19:06:52                  Main Document                Pg
                                                                       2 of 16
Debtor           Premiere Jewellery, Inc.
                _______________________________________________________                        Case number (if known)_____________________________________
                Name



7.    Describe debtor’s business         A. Check one:

                                               Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                               Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                               Railroad (as defined in 11 U.S.C. § 101(44))
                                               Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                         q     Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                               Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                               None of the above



                                         B. Check all that apply:

                                         q Tax-exempt entity (as described in 26 U.S.C. § 501)
                                         q Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
                                             § 80a-3)
                                         q Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

                                         C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                            http://www.uscourts.gov/four-digit-national-association-naics-codes .
                                              4 ___
                                             ___ 2 ___
                                                    3 ___
                                                       9

8.    Under which chapter of the         Check one:
      Bankruptcy Code is the
      debtor filing?                     q Chapter 7
                                         q Chapter 9
                                         q Chapter 11. Check all that apply:
                                                       q Debtor’s aggregate noncontingent liquidated debts (excluding debts owed to
                                                             insiders or affiliates) are less than $2,490,925 (amount subject to adjustment on
                                                             4/01/16 and every 3 years after that).
                                                         q   The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the
                                                             debtor is a small business debtor, attach the most recent balance sheet, statement
                                                             of operations, cash-flow statement, and federal income tax return or if all of these
                                                             documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).

                                                         q   A plan is being filed with this petition.

                                                         q   Acceptances of the plan were solicited prepetition from one or more classes of
                                                             creditors, in accordance with 11 U.S.C. § 1126(b).

                                                         q   The debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                             Securities and Exchange Commission according to § 13 or 15(d) of the Securities
                                                             Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
                                                             for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

                                                         q   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
                                                             12b-2.
                                         q Chapter 12
9.    Were prior bankruptcy cases        q No
      filed by or against the debtor
      within the last 8 years?           q Yes.    District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY
      If more than 2 cases, attach a
      separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                         MM / DD / YYYY

10.   Are any bankruptcy cases           q No
      pending or being filed by a                          See Rider 1                                                       Affiliate
      business partner or an             q Yes.    Debtor _____________________________________________ Relationship _________________________
      affiliate of the debtor?                     District _____________________________________________ When               __________________
      List all cases. If more than 1,                                                                                        MM / DD / YYYY
      attach a separate list.                      Case number, if known ________________________________


     Official Form 201                        Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 2
           20-11484               Doc 1             Filed 06/25/20                      Entered 06/25/20 19:06:52                Main Document                  Pg
                                                                                           3 of 16
Debtor          Premiere Jewellery, Inc.
               _______________________________________________________                                          Case number (if known)_____________________________________
               Name




11.   Why is the case filed in this                   Check all that apply:
      district?
                                                      q Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                                            district.

                                                      q A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

12.   Does the debtor own or have                      q No
      possession of any real                           q Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
      property or personal property
      that needs immediate                                         Why does the property need immediate attention? (Check all that apply.)
      attention?
                                                                   q    It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                                        What is the hazard? _____________________________________________________________________

                                                                   q    It needs to be physically secured or protected from the weather.

                                                                   q    It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                                        attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                                        assets or other options).

                                                                   q    Other _______________________________________________________________________________



                                                                   Where is the property?_____________________________________________________________________
                                                                                                Number        Street

                                                                                                ____________________________________________________________________

                                                                                                _______________________________________       _______     ________________
                                                                                                City                                          State       ZIP Code


                                                                   Is the property insured?
                                                                   q    No
                                                                   q    Yes. Insurance agency ____________________________________________________________________

                                                                               Contact name     ____________________________________________________________________

                                                                               Phone            ________________________________




            St a t i st i c a l a n d a d m i n i st r a t iv e i n f o r m a t i o n



13.   Debtor’s estimation of                          Check one:
      available funds                                 q Funds will be available for distribution to unsecured creditors.
                                                      q After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

                                                      q 1-49                                  q 1,000-5,000                           q 25,001-50,000
14.   Estimated number of                             q 50-99                                 q 5,001-10,000                          q 50,001-100,000
      creditors
                                                      q 100-199                               q 10,001-25,000                         q More than 100,000
                                                      q 200-999

                                                      q $0-$50,000                            q $1,000,001-$10 million                q $500,000,001-$1 billion
15.   Estimated assets                                q $50,001-$100,000                      q $10,000,001-$50 million               q $1,000,000,001-$10 billion
                                                      q $100,001-$500,000                     q $50,000,001-$100 million              q $10,000,000,001-$50 billion
                                                      q $500,001-$1 million                   q $100,000,001-$500 million             q More than $50 billion



  Official Form 201                                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                   page 3
           20-11484               Doc 1             Filed 06/25/20                    Entered 06/25/20 19:06:52                 Main Document                Pg
                                                                                         4 of 16
Debtor           Premiere Jewellery, Inc.
                _______________________________________________________                                         Case number (if known)_____________________________________
                Name



                                                      q $0-$50,000                             q $1,000,001-$10 million                q $500,000,001-$1 billion
16.   Estimated liabilities                           q $50,001-$100,000                       q $10,000,001-$50 million               q $1,000,000,001-$10 billion
                                                      q $100,001-$500,000                      q $50,000,001-$100 million              q $10,000,000,001-$50 billion
                                                      q $500,001-$1 million                    q $100,000,001-$500 million             q More than $50 billion


             Re q u e s t f o r Re l i e f , De c l a r a t i o n , a n d Si g n a t u r e s


WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to
           $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.


17.   Declaration and signature of                         The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this
      authorized representative of
                                                           petition.
      debtor
                                                           I have been authorized to file this petition on behalf of the debtor.

                                                           I have examined the information in this petition and have a reasonable belief that the information is true and
                                                           correct.


                                                      I declare under penalty of perjury that the foregoing is true and correct.

                                                                       06          25 2020
                                                          Executed on _________________
                                                                      MM / DD / YYYY


                                                      û /s/ A. Howard Moser
                                                           _____________________________________________                 A. Howard Moser
                                                                                                                        _______________________________________________
                                                           Signature of authorized representative of debtor             Printed name

                                                                  Chief Restructuring Officer
                                                           Title _________________________________________




18.   Signature of attorney
                                                      û /s/ Jeffrey A. Wurst
                                                           _____________________________________________                Date        06 24      2020
                                                                                                                                   _________________
                                                           Signature of attorney for debtor                                        MM     / DD / YYYY



                                                            Jeffrey Wurst
                                                           _________________________________________________________________________________________________
                                                           Printed name
                                                            Armstrong Teasdale LLP
                                                           _________________________________________________________________________________________________
                                                           Firm name
                                                           919         Third Avenue
                                                           _________________________________________________________________________________________________
                                                           Number     Street
                                                            New York
                                                           ____________________________________________________               NY
                                                                                                                             ____________  10019
                                                                                                                                          ______________________________
                                                           City                                                              State        ZIP Code

                                                            212-209-4400
                                                           ____________________________________                               JWurst@atllp.com
                                                                                                                             __________________________________________
                                                           Contact phone                                                     Email address



                                                            JW9744                                                           NY
                                                           ______________________________________________________ ____________
                                                           Bar number                                             State




  Official Form 201                                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                  page 4
20-11484    Doc 1    Filed 06/25/20    Entered 06/25/20 19:06:52       Main Document        Pg
                                          5 of 16




                                          Rider 1
                                Pending Bankruptcy Cases
                      Filed by the Debtor and Affiliates of the Debtor

    On the date hereof, each of the entities listed below (collectively, the “Debtors”) filed a
petition in the United States Bankruptcy Court for the Southern District of New York for relief
under chapter 11 of title 11 of the United States Code. The Debtors have moved for joint
administration of these cases under the case number assigned to the chapter 11 case of Premiere
Jewellery, Inc.

   •   Premiere Jewellery, Inc.
   •   Tanya Creations, LLC
   •   PAW Holdings, Inc.
   •   ETYM Properties, LLC
   •   PJT, LLC
20-11484       Doc 1       Filed 06/25/20        Entered 06/25/20 19:06:52               Main Document                Pg
                                                    6 of 16




 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                               )
                               )
In re:                         )                               Chapter 11
                               )
PREMIERE JEWELLERY, INC.       )                               Case No. 20-[●]
                               )
                               )
               Debtor.         )
                               )

                              LIST OF EQUITY SECURITY HOLDERS1


                  Equity Holders              Address of Equity               Percentage of
                                                  Holder                      Equity Held

               Peter Wallick                4 Jones Circle                100%
                                            Barrington, RI 02806




1
 This list serves as the disclosure required to be made by the debtor pursuant to rule 1007 of the Federal Rules of
Bankruptcy Procedure. All equity positions listed are as of the date of commencement of the chapter 11 case.
20-11484    Doc 1     Filed 06/25/20    Entered 06/25/20 19:06:52        Main Document         Pg
                                           7 of 16




 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                               )
                               )
In re:                         )                    Chapter 11
                               )
PREMIERE JEWELLERY, INC        )                    Case No. 20-[●]
                               )
                               )
               Debtor.         )
                               )


                        CORPORATE OWNERSHIP STATEMENT


       Pursuant to 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure, the
following are corporations, other than a government unit, that directly or indirectly own 10% or
more of any class of the debtor’s equity interest:



                Shareholder                       Approximate Percentage of Shares Held

                Peter Wallick                                         100%
         20-11484           Doc 1         Filed 06/25/20          Entered 06/25/20 19:06:52                            Main Document                   Pg
                                                                     8 of 16



Fill in this information to identify the case:

Debtor Name      Premiere Jewellery, Inc.
United States Bankruptcy Court for the:   Southern         District of   New York
                                                                         (State)                                                     q Check if this is an
Case number (if known):                                                                                                                amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20
Largest Unsecured Claims and Are Not Insiders                                                                                                                  12/15


                                                      Name, telephone              Nature of the   Indicate if claim    Amount of unsecured claim
                                                      number, and email            claim (for      is contingent,       If the claim is fully unsecured, fill in only
                                                      address of creditor          example,        unliquidated, or     unsecured claim amount. If claim is partially
                                                      contact                      trade debts,    disputed             secured, fill in total claim amount and
                                                                                   bank loans,                          deduction for value of collateral or setoff to
    Name of creditor and complete mailing                                          professional                         calculate unsecured claim.
    address, including zip code                                                    services, and
                                                                                   government
                                                                                   contracts)                           Total           Deduction Unsecured claim
                                                                                                                        claim, if       for value
                                                                                                                        partially       of
                                                                                                                        secured         collateral


  aixin@fashion@jewelry@coNL@ltdN@
                                                     a @z@        Trade
  dagu@river@industrial@park@
1                                                    `  N
  ligezhuang@townL@jiaozhou@
  qingdaoL@china@RVVSQV                              @
                                                                                                                                                   SVULYVQNTY@@
                                                     XVMQXSVTRTQXQU@
                                                     a@i
                                                     adam@contempoc
                                                     ard.com        Trade
                                                     TPQRWRTRQP@
2
    contempo@card@co@
    VY@tingley@street@
    providenceL@ri@PRYPS@
                                                                                                                                                   SURLUVRNUW@@
  danchil@jewelry@coN@ltd                            d@x@
  CQSRV@yinhai@roadL@yidong@                         `N
  district@                                          XV@UWY@XYYY@VWWW@
3                                                                      Trade
  niansanli@townL@yiwu@cityL@                        eZ@XVRQ@
  zhejiang@
  provinceL@china                                                                                                                                  SQQLRUXNRR@@
  eMlasting@arts@and@crafts@coNL@                    Attn: Richard Fan
  ltdN@                                               QP`M
4 japan@industrial@park@                             N@                   Trade

  ligezhuang@town@                                   QXV@VQWY@WXQV@
  jiaozhouL@qingdaoL@shandong                                                                                                                      RXVYPYNUS@
        20-11484        Doc 1       Filed 06/25/20      Entered 06/25/20 19:06:52                      Main Document                   Pg
                                                           9 of 16



                                             Name, telephone       Nature of the   Indicate if claim    Amount of unsecured claim
                                             number, and email     claim (for      is contingent,       If the claim is fully unsecured, fill in only
                                             address of creditor   example,        unliquidated, or     unsecured claim amount. If claim is partially
                                             contact               trade debts,    disputed             secured, fill in total claim amount and
                                                                   bank loans,                          deduction for value of collateral or setoff to
    Name of creditor and complete mailing                          professional                         calculate unsecured claim.
    address, including zip code                                    services, and
                                                                   government
                                                                   contracts)                           Total           Deduction Unsecured claim
                                                                                                        claim, if       for value
                                                                                                        partially       of
                                                                                                        secured         collateral
                                                                   Trade
                                            m @y  @
                                             NN  `
5   a @e @
                                             N
     po@box@YXQUSQ
                                            QMXPPMURXMRQRR@
     el@pasoL@tx@WYYYXMQUSQ@
                                                                                                                                   RRSLUVTNRU@@
  red@cherry@jewelry@mfgN                                          Trade

  Tth@floor@
                                            Claire Guo
6
  CWUU@west@xuefeng@road@                   claire@chinahyt.com
  beiyuan@street@                           +86-21-6196-2555
  yiwu@china@SRRPPP@
                                                                                                                                   QUXYQWNRY@
  newlilai@craftwork@coNL@ltdN                                     Trade
                                            m@h@
  no@WPW@chouzhou@north@road@               sale17@cnbead.cn
7 jinmao@mansion@                           86 579 85299506
  yiwu@cityL@china@SRRPPP@                  alen@feng@
                                            86 18305890860
                                                                                                                                   @@QRPRURNPS@
                                                                   Trade
  yiwu@soq@jewelry@coNL@ltdN@
  RfL@building@noQS@sihai@ave@              Attn: Julia Zhang
8                                           julia@soqjewelry.com
  yiwuL@china@                              0532-80962575
  SRRPPP@
                                                                                                                                   QQVPQQNVX@
  icare@industrial@limited                  g @n                 Trade

  room@RQPU@jfzXSS@trend@centre@              ` M
9
  RYMSQ@cheung@lee@street@                   N
  chai@wanL@hong@kong@                      XVMUYQMXXRVMQYPW@                                                                      YTLXQUNUU@@
   yoohan@vietnam@arts@crafts@coNL@         c@              Trade

   ltdN@                                    N`
10 dong@van@i@industrial@zone@              N
   duy@tien@district@                       PPXTMPRRMVSUXM
   ha@namL@vietnam@SPPPP                    SPXP                                                                                   YTLWSSNSS@
   SXY@associates                           daniel@breiman@RQRM Trade
   cOo@olmstead@properties@                 UVTMVVVRMxRRP@
11                                          m  @w@@
   UWU@eighth@avenueMsuite@RTPP@
                                            ` @
   new@yorkL@ny@QPPQXMSPQQ@                                                                                                        WWLPTPNYR@@
         20-11484        Doc 1       Filed 06/25/20      Entered 06/25/20 19:06:52                         Main Document                   Pg
                                                           10 of 16



                                              Name, telephone          Nature of the   Indicate if claim    Amount of unsecured claim
                                              number, and email        claim (for      is contingent,       If the claim is fully unsecured, fill in only
                                              address of creditor      example,        unliquidated, or     unsecured claim amount. If claim is partially
                                              contact                  trade debts,    disputed             secured, fill in total claim amount and
                                                                       bank loans,                          deduction for value of collateral or setoff to
     Name of creditor and complete mailing                             professional                         calculate unsecured claim.
     address, including zip code                                       services, and
                                                                       government
                                                                       contracts)                           Total           Deduction Unsecured claim
                                                                                                            claim, if       for value
                                                                                                            partially       of
                                                                                                            secured         collateral
                                                                       Trade
   chenjoo@jewelry@factory@
   Rnd@floorL@building@Q@
                                             Victor Yang
12 CXV@ziahe@road@                           VictorCJ@chenjoo.com
   beiyuan@industrial@zone@                  86-579-8559-6008

   yiwu@zhejiang@SRRPPP@
                                                                                                                                       VVLPQTNWV@@
                                                                       Trade


     sdc@designs@llc@                        Rowina Singh
13                                           rowina@sdcdesigns.com
     URYL@Uth@avenueL@QVth@floor@            646-898-0850
     new@yorkL@ny@QPPQW@
                                                                                                                                       VULRXVNSW@@
                                                                       Trade
   tajmun@arts@llp@
                                             Nazda Tajmun
   rRQTL@street@CQPL@ramesh@park@            nazdatajmun@gmail.co
14
   laxmi@nagar@                              m
                                             91-9582454408
   delhi@india@QQPPYR@
                                                                                                                                       UWLVQWNQS@@
   yiwu@bidian@fashion jewelry@ltd                                     Trade

   Srd@floorL@pink@buildingL@                Stanley li
15                                           stanley@ywshijue.com
   shengjin@                                 86-15825795927
   CQRL@danchen@first@road@                                                                                                            UUXXWNQY@
   yiwu@cityL@china                                                    Trade
   bow@industrial@corporation@
   SMU@yangjaeMdaeroVPMgil@                  Eric Choi
16                                           eric@bowjewel.com
   songpaMgu@                                82-2-400-8885 Ex)300
   seoulL@korea@
                                                                                                                                       UULWVVNQU@@
                                                                       Trade
   y@p@j  @cNL@l@
   e@d   @z @                Michelle Kong
                                             michelle@paiqiangjewelr
17 SfL@nN@SPL@g@e@r@
                                             y.com
   yiwuL@zhejiang@SRRPP@                     (212) 354-0434


                                                                                                                                       URSTQNTT@
         20-11484        Doc 1       Filed 06/25/20      Entered 06/25/20 19:06:52                        Main Document                   Pg
                                                           11 of 16



                                              Name, telephone         Nature of the   Indicate if claim    Amount of unsecured claim
                                              number, and email       claim (for      is contingent,       If the claim is fully unsecured, fill in only
                                              address of creditor     example,        unliquidated, or     unsecured claim amount. If claim is partially
                                              contact                 trade debts,    disputed             secured, fill in total claim amount and
                                                                      bank loans,                          deduction for value of collateral or setoff to
     Name of creditor and complete mailing                            professional                         calculate unsecured claim.
     address, including zip code                                      services, and
                                                                      government
                                                                      contracts)                           Total           Deduction Unsecured claim
                                                                                                           claim, if       for value
                                                                                                           partially       of
                                                                                                           secured         collateral
   cana@jewels@limited                                                Trade

   XOf@noCRWL@hehua@road@
   chengxi@industrial@area@                  Catrina Huang
18 yiwuL@zhejiang@                           catrina@canajewels.com
                                             086-579-81570808
   china@@
   SRRPPP@
                                                                                                                                      @@@@@TYLYSSNXW
                                                                      Trade

                                             k @l @
                                             HTPQI@RWTMRPPQ@@@@@
19 kahn@litwin@renza@F@coNL@ltdN@             `N
     YUQ@north@main@street@                  @@@@@@@@@@@@@
     providenceL@ri@PRYPT@
                                                                                                                                      @@@@@@@@TWLYSQNPU
     tufts@health@plan
     po@box@YRRT@                            c @v@
     chelseaL@ma@PRQUPMYRRT@                 c v
20                                           `M N
                                             TPQMWPYMUSRV@
                                             H I@@
                                             TPQMSTPMVRXW@                                                                            TTLVUYNYR@
                                                                                                                                      D@@
           20-11484               Doc 1          Filed 06/25/20                Entered 06/25/20 19:06:52                     Main Document        Pg
                                                                                 12 of 16




 Fill in this information to identify the case:

 Debtor name         PREMIERE JEWELLERY, INC.

 United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF NEW YORK

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration     List of Equity Security Holders, Corporate Ownership Statement, and List of Creditors
                                                                 who have the 20 Largest Unsecured Claims

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          06/25/2020                              X /s/ A. Howard Moser
                                                                       Signature of individual signing on behalf of debtor

                                                                       A. Howard Moser
                                                                       Printed name

                                                                       Chief Restructuring Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
20-11484   Doc 1   Filed 06/25/20   Entered 06/25/20 19:06:52   Main Document   Pg
                                      13 of 16
20-11484   Doc 1   Filed 06/25/20   Entered 06/25/20 19:06:52   Main Document   Pg
                                      14 of 16
20-11484   Doc 1   Filed 06/25/20   Entered 06/25/20 19:06:52   Main Document   Pg
                                      15 of 16
20-11484    Doc 1   Filed 06/25/20    Entered 06/25/20 19:06:52      Main Document       Pg
                                        16 of 16




 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                               )
                               )
In re:                         )                Chapter 11
                               )
PREMIERE JEWELLERY, INC.       )                Case No. 20-[●]
                               )
                               )
               Debtor.         )
                               )

                       VERIFICATION OF CREDITOR MATRIX

       The above named debtor(s) hereby certifies/certify under penalty of perjury that the
attached list containing the names and addresses of my creditors (Matrix), consisting of 36
page(s) and is true, correct and complete.



                                          /s/ A. Howard Moser
                                          Name: A. Howard Moser
                                          Title: Chief Restructuring Officer
                                          On behalf of the Debtors and Debtors in Possession

                                          Dated: 06/25/2020
